                             1 Thomas R. Burke (State Bar No. 141930)
                               DAVIS WRIGHT TREMAINE LLP
                             2 505 Montgomery Street, Suite 800
                               San Francisco, California 94111
                             3 Telephone: (415) 276-6500
                               Facsimile: (415) 276-6599
                             4 Email: thomasburke@dwt.com

                             5 Abigail B. Everdell (pro hac vice)
                               DAVIS WRIGHT TREMAINE LLP
                             6 1251 Avenue of the Americas, 21st Floor
                               New York, New York 10020
                             7 Telephone: (212) 489-8230
                               Facsimile: (212) 489-8340
                             8 Email: abigaileverdell@dwt.com

                             9 Attorneys for Defendants
                               Candide Group, LLC and Morgan Simon
                            10

                            11                            IN THE UNITED STATES DISTRICT COURT
DAVIS WRIGHT TREMAINE LLP




                            12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

                            13                                    SAN FRANCISCO DIVISION

                            14 CORECIVIC, INC.,                                      Case No. 4:20-cv-03792-WHA
                            15                      Plaintiff,                       Assigned to the Hon. William Alsup
                            16 v.                                                    REPLY IN SUPPORT OF SPECIAL
                                                                                     MOTION TO STRIKE PLAINTIFF’S
                            17 CANDIDE GROUP, LLC and MORGAN                         COMPLAINT
                               SIMON,                                                [Cal. Code Civ. Proc. § 425.16]
                            18
                                                                                     Judge:     Hon. William Alsup
                                            Defendants.
                            19                                                       Date:      October 22, 20201
                                                                                     Time:      8:00 a.m.
                            20                                                       Location: San Francisco Courthouse
                                                                                                Courtroom 7 – 19th Floor
                            21                                                                  450 Golden Gate Avenue
                                                                                                San Francisco, CA 94102
                            22                                                       Action Filed:        March 4, 2020
                                                                                     Action Transferred: June 7, 2020
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                                  Defendants respectfully request oral argument on this motion, and in that event, pursuant to this
                            28   Court’s Supplemental Order to Order Setting Initial Case Management Conference (Rev. Feb. 12,
                                 2018), ¶ 3, sixth year associate Abigail Everdell will argue the motion.

                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1                                                      TABLE OF CONTENTS
                             2                                                                                                                                        Page
                             3 INTRODUCTION ............................................................................................................................. 1

                             4 I.            The anti-SLAPP Statute Applies to This Action ................................................................... 2
                             5               A.        In the Ninth Circuit, the Anti-SLAPP Statute Applies in Federal Court .................. 2
                             6               B.        The Forbes Posts Do Not Fall Within the Commercial Speech Exemption ............. 2
                             7 II.           Corecivic’s Claims Fail as a Matter of Law .......................................................................... 5
                             8               A.        CoreCivic’s Claims Arising From Statements in the Sept. 25, 2018 Post Are Time-
                                                       Barred, and Its Other Allegations of Republication Fail ........................................... 5
                             9
                                             B.        The Family Separation Statements Are Not False, and Do Not Carry the Allegedly
                            10                         “False” Implications CoreCivic Puts Forth ............................................................... 7
                            11               C.        The Forbes Posts Are Akin to Opinion Columns and Should Not Be Subjected to
DAVIS WRIGHT TREMAINE LLP




                                                       an Over-Literal Reading ............................................................................................ 8
                            12
                                             D.        CoreCivic Has Not Met the Pleading Standard for Special Damages, and Concedes
                            13                         That the Lobbying Statements Are Not Defamation Per Se ................................... 10
                            14 III.          The Complaint Fails to Raise a Plausible Inference of Actual Malice ............................... 12
                            15 CONCLUSION ............................................................................................................................... 15

                            16

                            17

                            18

                            19
                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27
                            28

                                                                                                     i
                                  DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                  Case No. 4:20-cv-03792-WHA
                                                                                  TABLE OF AUTHORITIES
                              1

                              2                                                                                                                                   Page(s)

                              3 Cases

                              4 Anderson v. Hearst Pub. Co.,
                                   120 F. Supp. 850 (S.D. Cal. 1954) .............................................................................................11
                              5
                                Ashcroft v. Iqbal,
                              6    556 U.S. 662 (2009) ...................................................................................................................12
                              7 Bell Atlantic Corp. v. Twombly,

                              8     550 U.S. 544 (2007) ...................................................................................................................12

                             9 Biro v. Conde Nast,
                                  963 F. Supp. 2d 255 (S.D.N.Y. 2013), aff’d, 807 F.3d 541 (2d Cir. 2015), and
                            10    aff’d, 622 F. App’x 67 (2d Cir. 2015) ........................................................................................15
                            11 Cochran v. NYP Holdings, Inc.,
DAVIS WRIGHT TREMAINE LLP




                                  58 F. Supp. 2d 1113 (C.D. Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000) ........................8, 10
                            12
                               Connaughton v. Harte Hanks Commc’ns, Inc.,
                            13
                                  842 F.2d 825 (6th Cir. 1988), aff’d, 491 U.S. 657 (1989) .........................................................14
                            14
                               D.A.R.E Am. v. Rolling Stone Magazine,
                            15    101 F. Supp. 2d 1270 (C.D. Cal. 2000), aff’d, 270 F.3d 793 (9th Cir. 2001) ............................14

                            16 Doctor’s Data, Inc. v. Barrett,
                                  170 F. Supp. 3d 1087 (N.D. Ill. 2016) .........................................................................................5
                            17
                               Downing v. Abercrombie & Fitch,
                            18
                                  265 F.3d 994 (9th Cir. 2001) ......................................................................................................11
                            19
                               Eastwood v. Nat’l Enquirer, Inc.,
                            20    123 F.3d 1249 (9th Cir. 1997) ..............................................................................................13, 14

                            21 Enigma Software Grp. USA, LLC v. Bleeping Computer LLC,
                                  194 F. Supp. 3d 263 (S.D.N.Y. 2016) ..........................................................................................6
                            22
                               FilmOn.com Inc. v. DoubleVerify Inc.,
                            23    7 Cal. 5th 133 (2019)....................................................................................................................3
                            24
                               Flowers v. Carville,
                            25    310 F.3d 1118 (9th Cir. 2002) ......................................................................................................9

                            26 Forsher v. Bugliosi,
                                  26 Cal. 3d 792 (1980) ...................................................................................................................7
                            27
                               GOLO, LLC v. Higher Health Network, LLC,
                            28    No. 3:18-CIV-2434-GPC-MSB, 2019 WL 446251 (S.D. Cal. Feb. 5, 2019) ............................11
                                                                                                     ii
                                   DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                   Case No. 4:20-cv-03792-WHA
                                   Harris v. City of Seattle,
                              1
                                      152 F. App’x 565 (9th Cir. 2005)...............................................................................................14
                              2
                                Henry v. Collins,
                              3    380 U.S. 356 (1965) ...................................................................................................................13

                              4 Herring Networks, Inc. v. Maddow,
                                   445 F. Supp. 3d 1042 (S.D. Cal. 2020),
                              5    appeal filed, No. 20-55579 (9th Cir. June 3, 2020), ..............................................................9, 10
                              6 In re Philadelphia Newspapers, LLC,

                              7     690 F.3d 161 (3d Cir. 2012), as corrected (Oct. 25, 2012)......................................................5, 6

                             8 Ingels v. Westwood One Broad. Servs., Inc.,
                                   129 Cal. App. 4th 1050 (2005) .....................................................................................................4
                             9
                               Isuzu Motors Ltd. v. Consumers Union of U.S., Inc.,
                            10     12 F. Supp. 2d 1035 (C.D. Cal. 1998) ........................................................................................11
                            11 Kaelin v. Globe Commc’ns Corp.,
DAVIS WRIGHT TREMAINE LLP




                                  162 F.3d 1036 (9th Cir. 1998) ....................................................................................................13
                            12

                            13 Major v. Silna,
                                  134 Cal. App. 4th 1485 (2005) .....................................................................................................4
                            14
                               Masson v. New Yorker Magazine, Inc.,
                            15    501 U.S. 496 (1991) ...................................................................................................................12
                            16 McFarlane v. Sheridan Square Press, Inc.,
                                 91 F.3d 1501 (D.C. Cir. 1996) ...................................................................................................15
                            17

                            18 McKinney v. Cty. of Santa Clara,
                                  110 Cal. App. 3d 787 (1980) ........................................................................................................7
                            19
                               New.Net, Inc. v. Lavasoft,
                            20    356 F. Supp. 2d 1090 (C.D. Cal. 2004) ........................................................................................3

                            21 Partington v. Bugliosi,
                                  56 F.3d 1147 (9th Cir. 1995) ..................................................................................................9, 10
                            22
                               Penrose Hill, Ltd. v. Mabray,
                            23
                                  No. 20-CIV-01169-DMR, 2020 WL 4804965 (N.D. Cal. Aug. 18, 2020) ..................................6
                            24
                               Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,
                            25    890 F.3d 828, amended by 897 F.3d 1224 (9th Cir. 2018) ..........................................................2

                            26 Pollard v. Lyon,
                                  91 U.S. 225 (1875) .....................................................................................................................11
                            27
                               Rice v. McKesson Corp.,
                            28    No. CIV 12-05949 WHA, 2013 WL 97738 (N.D. Cal. Jan. 7, 2013) ..........................................2
                                                                                                     iii
                                   DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                   Case No. 4:20-cv-03792-WHA
                                   Salyer v. S. Poverty Law Ctr., Inc.,
                             1
                                       701 F. Supp. 2d 912 (W.D. Ky. 2009) .........................................................................................5
                             2
                               Shepard v. TheHuffingtonPost.com, Inc.,
                             3    No. CIV 12-1513 PAM/SER, 2012 WL 5584615 (D. Minn. Nov. 15, 2012),
                                  aff’d, 509 F. App’x 556 (8th Cir. 2013) .......................................................................................5
                             4
                               Simpson Strong-Tie Co. v. Gore,
                             5    49 Cal. 4th 12 (2010)....................................................................................................................3
                             6 Solano v. Playgirl, Inc.,

                             7    292 F.3d 1078 (9th Cir. 2002) ....................................................................................................13

                             8 Steam Press Holdings, Inc. v. Haw. Teamsters, Allied Workers Union, Local 996,
                                   302 F.3d 998 (9th Cir. 2002) ........................................................................................................9
                             9
                               Stutzman v. Armstrong,
                            10     No. 2:13-CIV-00116-MCE, 2013 WL 4853333 (E.D. Cal. Sept. 10, 2013) ...............................4
                            11 Suzuki Motor Corp. v. Consumers Union of U.S., Inc.,
DAVIS WRIGHT TREMAINE LLP




                                  330 F.3d 1110 (9th Cir. 2003) ....................................................................................................13
                            12

                            13 Tavoulareas v. Piro,
                                  817 F.2d 762 (D.C. Cir. 1987) .............................................................................................13, 15
                            14
                               Yeager v. Bowlin,
                            15    693 F.3d 1076 (9th Cir. 2012) ......................................................................................................5
                            16 Statutes

                            17 California Code of Civil Procedure

                            18    § 425.17 ................................................................................................................................3, 4, 5

                            19 Rules
                            20 Federal Rules of Civil Procedure
                                  9(g) .............................................................................................................................................11
                            21    12(b)(6)...............................................................................................................................2, 3, 12
                            22

                            23

                            24

                            25

                            26

                            27
                            28

                                                                                                          iv
                                   DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                   Case No. 4:20-cv-03792-WHA
                             1                                           INTRODUCTION
                             2          In Opposing Defendants’ Special Motion to Strike, CoreCivic attempts repeatedly and
                             3 shamelessly to have it both ways, no matter the contradiction. In August, CoreCivic insisted that

                             4 the anti-SLAPP statute must be applied in federal court to its last detail (Dkt. 43), yet in its

                             5 Opposition now claims the statute should not apply at all. Next, the Opposition characterizes the

                             6 challenged Forbes Posts2—which reflect Simon’s earnest activism against private prisons—as

                             7 nakedly commercial, but later insists that they can only reasonably be read as dry factual

                             8 reporting. Then, the Opposition insists Simon’s Family Separation Statements are literally,

                             9 provably false, but its “quotes” of the so-called false statements appear nowhere in the Forbes

                            10 Posts, and bear little relationship to Simon’s actual statements. Finally, CoreCivic bases its claim

                            11 of actual malice as to the Lobbying Statements on an allegation that Simon had read and should
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                            12 have relied upon quotes by CoreCivic in the NPR and Business Insider Articles, but then declares

                            13 that Simon’s awareness of other reporting in these exact same articles cannot be accepted without

                            14 discovery. All this fancy footwork cannot save CoreCivic’s claims. Instead, it lays them bare.

                            15 CoreCivic’s own allegations fail to meet basic pleading standards for defamation, and fail to raise

                            16 a plausible inference of actual malice. This Court need not look past the Complaint and the

                            17 materials incorporated therein to dispose of CoreCivic’s Complaint in its entirety.

                            18          First, the anti-SLAPP statute applies in this Court, under binding Ninth Circuit authority.
                            19 CoreCivic’s arguments to the contrary rely on non-governing caselaw and an overt
                            20 mischaracterization of the Forbes Posts and the statute’s commercial speech exemption. The

                            21 commercial speech exemption applies only to comparative advertising, and no amount of

                            22 convenient characterization can force the Forbes Posts into that category. Second, the

                            23 Opposition’s claim that the Sept. 25, 2018 Article was republished by virtue of a hyperlink goes

                            24 against clear authority that a hyperlink can only republish material that it repeats. Third, the

                            25 Opposition concedes that the Family Separation Statements are not actually false, but insists they

                            26 carry outlandish false “implications” that bear no rational relationship to Simon’s actual

                            27
                                 2
                                   Except as otherwise indicated, defined terms are as set out in Defendants’ Memorandum of Law
                            28   in Support of their Motion to Strike (“Mot. Br.”), and referenced exhibits refer to exhibits filed
                                 with the Burke Declaration in support of that motion (Dkts. 41-2 – 41-13).
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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 statements. This is not sufficient to plead falsity. Fourth, though CoreCivic would have them

                             2 treated as advertisements one moment, and hardboiled reporting the next, the Forbes Posts are

                             3 plainly akin to opinion columns reflecting Simon’s own activism against private prisons. In light

                             4 of this context, any reasonable unstated implications in the Forbes Posts can only be read as

                             5 Simon’s opinion, and her use of loose verbiage to summarize disclosed reporting cannot rise to the

                             6 level of an actionable false statement. Fifth, the Opposition concedes that the Lobbying

                             7 Statements are not defamatory per se, and since the Complaint fails to plead a plausible theory of

                             8 special damages, these claims fail as a matter of law. Finally, CoreCivic fails to plead facts that

                             9 support a plausible inference of actual malice—whether examined individually or cumulatively.

                            10                I.     THE ANTI-SLAPP STATUTE APPLIES TO THIS ACTION
                            11 A.       In the Ninth Circuit, the Anti-SLAPP Statute Applies in Federal Court
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                            12          CoreCivic’s Opposition claims that the anti-SLAPP statute “cannot apply in Federal
                            13 Court” because it conflicts with the Federal Rules of Civil Procedure. Opp. at 6. This is a

                            14 stunning about-face from CoreCivic’s previous position, asserted in its Administrative Motion of

                            15 August 11, 2020, that the anti-SLAPP statute must apply in Federal Court down to its specific

                            16 procedural deadlines. (Dkt. 43 at 2; see also Dkt. 46 (Order Denying Administrative Motion)).

                            17 Yet even putting that aside, CoreCivic’s arguments are purely academic. This Court is bound by

                            18 decisions of the Ninth Circuit Court of Appeals (not the Fifth or the Second). See, e.g., Rice v.

                            19 McKesson Corp., No. C 12-05949 WHA, 2013 WL 97738, at *2 (N.D. Cal. Jan. 7, 2013) (Alsup,
                            20 J.) (“[R]eliance on the Seventh Circuit’s reasoning . . . is misplaced. Courts in this district

                            21 are bound by the authority of our own court of appeals.”). Here, binding Ninth Circuit authority

                            22 settles the question: Anti-SLAPP motions can be filed in Federal Court, and where (as here) such

                            23 a motion challenges the legal sufficiency of the claims, it will be examined under Rule 12(b)(6)

                            24 standards. Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834,

                            25 amended by 897 F.3d 1224 (9th Cir. 2018).

                            26 B.       The Forbes Posts Do Not Fall Within the Commercial Speech Exemption
                            27          In its Opposition, CoreCivic argues, incredibly, that Simon’s statements in the Forbes
                            28   Posts “fall[] squarely within the Anti-SLAPP Act’s ‘commercial speech’ exemption.” set out in

                                                                                  2
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 Cal. Civ. Proc. Code. § 425.17(c). Opp. at 7. Hiding behind Rule 12(b)(6), CoreCivic claims that

                             2 Simon meant to personally profit from criticizing CoreCivic and touting the progress of bank

                             3 financing-focused activism against the private prison industry. But this theory (aside from being

                             4 categorically false) cannot implicate the statutory exemption unless CoreCivic’s cause of action

                             5 “aris[es] from” Defendants’ representations about their own “or a business competitor’s business

                             6 operations, goods, or services.” Simpson Strong-Tie Co. v. Gore, 49 Cal. 4th 12, 30 (2010). See

                             7 also FilmOn.com Inc. v. DoubleVerify Inc., 7 Cal. 5th 133, 147 (2019) (“425.17, subdivision (c) ...

                             8 exempts ‘only a subset of commercial speech’—specifically, comparative advertising”).

                             9 Defendants are a “financial advisor” and her “Investment Advisor” firm. Compl. ¶¶ 8-9. The

                            10 Complaint does not allege they operate prisons or provide government “services,” id. ¶ 7, nor does

                            11 it allege they extend loans to large corporations or take consumer deposits like the banks referred
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                            12 to in the Forbes Posts (and any such allegation would be false). Defendants cannot be defined as a

                            13 “business competitor” of CoreCivic, or of a lending bank,3 solely because Defendants advise on

                            14 (or supposedly “sell”) investments. Using this definition would make every investment advisor or

                            15 brokerage a “business competitor” with every publicly traded company and/or lending institution,

                            16 regardless of any actual overlap in products or services.

                            17          Finally, the Forbes Posts do not make any representations about Defendants’ services or
                            18 any “products” Candide supposedly sells. In Simpson Strong-Tie—binding authority on the

                            19 commercial speech exemption, which the Opposition tellingly fails to mention—the California
                            20 Supreme Court found the exemption did not apply to an advertisement by an attorney that implied

                            21 the plaintiff’s galvanized screws were defective. 49 Cal. 4th at 30. The parties were obviously not

                            22 competitors, and though “the purpose of the advertisement was to promote [the defendant’s] legal

                            23 services,” the exemption did not apply because the claims did not “aris[e] from ... representations

                            24 of fact about [defendant’s own] ... business operations, goods, or services.” Id. (emphasis added).

                            25

                            26   CoreCivic raises this claim that Defendants are “competitors” with major lending banks for the
                                 3

                               first time in Opposition. Aside from being facially ridiculous, the theory fails because it finds no
                            27 support in the Complaint. See New.Net, Inc. v. Lavasoft, 356 F. Supp. 2d 1090, 1104, 1116 (C.D.
                               Cal. 2004) (parties could not be “business competitors” for purposes of the commercial speech
                            28 exemption, where there was “no allegation in the complaint that” they were, and the complaint in
                               fact “makes clear that the parties are engaged in separate and distinct businesses.”).
                                                                                3
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 Thus, even accepting the absurd proposition that the Forbes Posts constituted advertising for

                             2 Defendants, they do not qualify for the exemption because none of CoreCivic’s claims “aris[e]

                             3 from representations” about Defendants’ services (or about a business competitor’s).

                             4          But worse, CoreCivic’s argument misreads the statutory language of the “exception” to the
                             5 statute’s commercial speech exemption in Cal. Civ. Proc. Code § 425.17(d)(2), which explicitly

                             6 states that the commercial speech exemption does not apply to “[a]ny action against any person or

                             7 entity based upon the creation[ or] dissemination ... of any dramatic, literary, musical, political, or

                             8 artistic work, including, but not limited to, a motion picture or television program, or an article

                             9 published in a newspaper or magazine of general circulation.” Id. The Forbes Posts are without

                            10 question literary and/or political “works” under this definition, akin to “an article published in a

                            11 newspaper or magazine.” Indeed, CoreCivic repeatedly notes the statements were published in
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                            12 “articles on the ‘Investing’ section of Forbes.com,” Opp. at 1, 3, 7, 16, and contends that “the

                            13 general tenor of Defendants’ publications is factual and historical,” id. at 16—a far cry from the

                            14 kind of comparative advertising statements contemplated by the commercial speech exemption.

                            15          The Opposition nevertheless claims that subsection (d)(2) does not apply to the Forbes
                            16 Posts, because the website “Forbes.com is not a ‘newspaper or magazine,’” and the legislature’s

                            17 failure to include websites in the examples of “works” under subsection (d)(2) indicates it intended

                            18 to exclude them. Opp. at 10. This is a blatant misstatement of the law. Subsection (d)(2)’s

                            19 examples are explicitly non-exclusive, preceded by the phrase “including, but not limited to”—a
                            20 phrase that CoreCivic omits. Id.; Cal. Civ. Proc. Code § 425.17(d)(2). This phrase “is a term of

                            21 enlargement, and signals the Legislature's intent that subdivision (d)(2) applies to items not

                            22 specifically listed in the provision.” Stutzman v. Armstrong, No. 2:13-CIV-00116-MCE, 2013 WL

                            23 4853333, at *11 (E.D. Cal. Sept. 10, 2013) (citation omitted). Indeed, numerous courts have

                            24 applied this exception to works not specifically enumerated in the statute. See, e.g., Ingels v.

                            25 Westwood One Broad. Servs., Inc., 129 Cal. App. 4th 1050, 1068 (2005) (radio talk show was a

                            26 “work” under (d)(2)); Major v. Silna, 134 Cal. App. 4th 1485, 1495 (2005) (finding no “material

                            27 distinction” between a political advocacy letter sent by mail and a newspaper or magazine “article
                            28   or editorial of similar length and content”). If radio shows and political letters are “works” within

                                                                                  4
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 subsection (d)(2), it certainly follows that a contributor post published “on the ‘Investing section’”

                             2 of a renowned news organization’s website, Opp. at 10, must also fall under the exemption.

                             3           In sum, the commercial speech exemption cannot apply to exclude the statements at issue
                             4 from the scope of the anti-SLAPP statute. CoreCivic does not dispute, and therefore concedes,

                             5 that the Forbes Posts otherwise fall within prong one of the anti-SLAPP statute, thus the Court can

                             6 proceed to prong two, and strike CoreCivic’s legally deficient claims.

                             7                  II.    CORECIVIC’S CLAIMS FAIL AS A MATTER OF LAW
                             8
                                 A.      CoreCivic’s Claims Arising From Statements in the Sept. 25, 2018 Post Are Time-
                             9           Barred, and Its Other Allegations of Republication Fail

                            10           CoreCivic admits that the Sept. 25, 2018 Post was published outside the limitations period,

                            11 yet contends that it was republished by virtue of a hyperlink in the March 5 Post. Opp. at 10-11.
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                            12 In the face of a mountain of authority that a hyperlink to an outside source does not effect a

                            13 republication, see Mot. Br. at 10.4 CoreCivic argues that a web publication can be republished

                            14 where a later hyperlink “substantively ... add[s] to it or direct[s] [it] to a new audience.” Opp. at

                            15 11 (quoting Yeager v. Bowlin, 693 F.3d 1076, 1082 (9th Cir. 2012)). Yet, CoreCivic fails to

                            16 mention that the Yeager standard examines whether a web publication is republished when

                            17 changes are made to the original publication. See id. (“under California law, a statement on a

                            18 website is not republished unless the statement itself is substantively altered or added to, or the

                            19 website is directed to a new audience”) (emphasis added). See also Salyer, 701 F. Supp. 2d at 917
                            20 (“the critical feature of republication is, again, that the original text of the article was changed or

                            21 the contents of the article presented directly to a new audience”) (emphasis added).

                            22           The Complaint does not allege (nor could it) that the Sept. 25, 2018 Post was changed at

                            23 all within the limitations period—much less “substantively altered or added to.” Yeager, 693 F.3d

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                                 4
                                 See also, e.g., In re Philadelphia Newspapers, LLC, 690 F.3d 161, 174-75 (3d Cir. 2012), as
                            25 corrected (Oct. 25, 2012) (noting that “[s]everal courts specifically have considered whether
                               linking to previously published material is republication. To date, they all hold that it is not”);
                            26 Salyer v. S. Poverty Law Ctr., Inc., 701 F. Supp. 2d 912, 916 (W.D. Ky. 2009) (because hyperlink
                               did not republish the “material, in its entirety,” it did not constitute republication); Doctor’s Data,
                            27 Inc. v. Barrett, 170 F. Supp. 3d 1087, 1137 (N.D. Ill. 2016) (“a hyperlink does not qualify as a
                               publication.”); Shepard v. TheHuffingtonPost.com, Inc., No. CIV. 12-1513 PAM/SER, 2012 WL
                            28 5584615, at *2 (D. Minn. Nov. 15, 2012) (“hyperlinks to the original article . . . do not restart the
                               statute of limitations.”), aff'd, 509 F. App'x 556 (8th Cir. 2013).
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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 at 1082. Moreover, as CoreCivic admits, the “directed to a new audience” standard cannot be met

                             2 by a mere hyperlink and/or reference to the web publication. Opp. at 11. See also In re

                             3 Philadelphia Newspapers, 690 F.3d at 175 (“though a link and reference may bring readers’

                             4 attention to the existence of an article, they do not republish the article”). Courts applying the

                             5 “new audience” standard have held that a republication via hyperlink can occur where the newer

                             6 publication’s reference to the earlier publication not only links to but repeats the allegedly

                             7 defamatory statements in that earlier publication. See, e.g., Enigma Software Grp. USA, LLC v.

                             8 Bleeping Computer LLC, 194 F. Supp. 3d 263, 278 (S.D.N.Y. 2016) (republication may have

                             9 occurred where a reference and link to the earlier post “restate[d], almost verbatim, allegedly

                            10 defamatory statements from [it].”). The recent Northern District of California decision Penrose

                            11 Hill, Ltd. v. Mabray, No. 20-CIV-01169-DMR, 2020 WL 4804965, at *8 (N.D. Cal. Aug. 18,
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                            12 2020) is illustrative. On a motion on the pleadings—i.e. as a matter of law—the Court held that a

                            13 tweet linking to an earlier blog post “[a]t most . . . constitutes a republication as to the statements

                            14 displayed in the [tweet’s] link preview and not the rest of the statements in the Blog Post.” Id. at

                            15 *8. In other words, even where a reference and link to a time-barred web publication meets the

                            16 republication standard, it only does so with regard to statements the later publication repeats.

                            17          Here, the only allegedly defamatory statements in the Sept. 25, 2018 Post relate to family
                            18 separation. See Compl. ¶¶ 120(b), 135(a). But in the sentence that links to the Sept. 25, 2018

                            19 post, the March 5 Post makes no reference to family separation. See Ex. 2 at 2 (“As explored
                            20 in ‘What Do Big Banks Have to Do With Private Prisons,’ GEO Group and CoreCivic have a long

                            21 history of profiting from mass incarceration: they make money when beds are filled, justly or

                            22 unjustly. . .”).5 Indeed, the concept of family separation is not mentioned until the next paragraph,

                            23 in a substantively different way, and without repeating or referencing to the earlier post. Id. This

                            24 is not sufficient to create a republication. The March 5 Post’s reference and link to the Sept. 25,

                            25 2018 Post does not repeat any of the allegedly defamatory statements in the earlier post, thus it did

                            26 not republish those statements.6 Nor did Simon’s March 6, 2019 tweet result in a republication of

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                                 5
                                   See https://www.forbes.com/sites/morgansimon/2019/03/05/jpmorgan-chase-is-done-with-
                            28   private-prisons/#7e3895d7690d
                                 6
                                   As made clear in Penrose Hill, the question of republication in this context is not a fact issue.
                                                                                  6
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 the challenged statements in the March 5 or Sept. 25, 2018 Posts, as the tweet does not repeat or

                             2 display any of those statements, and in fact does not even mention CoreCivic. See Compl. ¶ 54.

                             3
                                 B.      The Family Separation Statements Are Not False, and Do Not Carry the Allegedly
                             4           “False” Implications CoreCivic Puts Forth

                             5           CoreCivic effectively concedes that none of the Family Separation statements are literally

                             6 false. Instead, its Opposition focuses exclusively on the supposed falsity of a series of statements

                             7 Simon never made, which appear nowhere in the Forbes Posts. This is hardly surprising, since

                             8 CoreCivic has not pled (and cannot plead) that there is anything false in Simon’s actual

                             9 statements, which note how the government’s policy of separating migrant family members has

                            10 led to scrutiny of immigrant detention facilities and the private prison companies which operate a

                            11 third of those facilities. See, e.g., Ex. 2 at 2.
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                            12           Preliminarily, CoreCivic claims that the meaning of the Forbes Posts is a question of fact

                            13 and must be left for a jury to decide. See Opp. at 14. To the contrary, in a decision affirming pre-

                            14 discovery dismissal of defamation claims, the California Supreme Court held that where a claimed

                            15 defamatory implication “is so obscure and attenuated as to be beyond the realm of

                            16 reasonableness,” the claim fails as a matter of law. Forsher v. Bugliosi, 26 Cal. 3d 792, 805

                            17 (1980). CoreCivic’s claims fail for this precise reason. Rather than pointing to any actual false

                            18 statement relating to family separation, CoreCivic sets up a series of increasingly histrionic straw

                            19 men, claiming that the unstated implication of the Forbes Posts is not only that CoreCivic
                            20 “‘operat[es] immigrant detention facilities for children separated from their parents at the [U.S.]

                            21 border,’” Opp. at 1 (a phrase the Opposition misleadingly “quotes,” though it appears nowhere in

                            22 any of the publications at issue), but also that it “is responsible for abuses in those facilities,” id.,

                            23 and spent decades and millions of dollars lobbying “to enrich itself by incarcerating immigrant

                            24 children separated from their parents at the border.” Id. at 3. Whether these manufactured

                            25 statements are false is of no moment, because Defendants said no such thing. The Forbes Posts

                            26 refer to Families Belong Together and discuss family separation and the role of private prisons in

                            27
                                 The 1980 case Plaintiff cites for this idea relates to whether a repetition (a.k.a. republication) of a
                            28   slander is foreseeable. See McKinney v. Cty. of Santa Clara, 110 Cal. App. 3d 787, 798 (1980). It
                                 has nothing to do with the statute of limitations.
                                                                                    7
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 immigrant detention. They cannot reasonably be read as accusing CoreCivic of operating facilities

                             2 for children, much less of spending decades lobbying for criminal laws that would allow it to enter

                             3 and profit from the unaccompanied-minor-detention “market.”

                             4          The core fallacy of CoreCivic’s arguments is a presumption that the term “family
                             5 separation” can only refer to the isolation and detention of children, which willfully ignores the

                             6 countless migrant adults separated from their children, spouses, and/or extended family members,

                             7 who are also members of separated families, in addition to incarcerated American citizens writ-

                             8 large who are regularly separated from their families. Indeed, in its Opposition, CoreCivic even

                             9 acknowledges that family separation and detaining children are two different things. See Opp. at 3

                            10 (claiming the Forbes Posts linked CoreCivic to “the family separation policy and detention of

                            11 immigrant children”) (emphasis added). This is precisely the point Simon emphasized in
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                            12 clarifying the March 5 Post (a clarification CoreCivic insisted upon, and now attempts to use

                            13 against her, see Compl. ¶ 62, Opp. at 14-15): “Family separation” is by its own words “more

                            14 broad” than the concept of child detention, because it concerns the entire family. See Ex. 4 at 5.

                            15          In short, the Forbes Posts at no point accuse CoreCivic of detaining unaccompanied
                            16 migrant children, and such an accusation cannot be reasonably inferred by statements connecting

                            17 CoreCivic to “family separation.” CoreCivic cannot plead material falsity on the sole basis that it

                            18 “does not and has never operated immigrant detention facilities for children separated from their

                            19 parents at the border,” Opp. at 4, because the Forbes Posts do not state otherwise.
                            20
                                 C.     The Forbes Posts Are Akin to Opinion Columns and Should Not Be Subjected to an
                            21          Over-Literal Reading

                            22          In its Opposition, CoreCivic characterizes the Forbes Posts as self-interested marketing

                            23 pieces, which “promote” Simon. See Opp. at 8. Yet in the same breath, it claims that the Forbes

                            24 Posts are meant to be “factual and historical. . . . articles” published on a “news website.” Opp. at

                            25 16. Again, CoreCivic cannot have it both ways. Any reasonable reader of the Forbes Posts would

                            26 understand that they are not news articles or advertisements, but pieces of advocacy, describing

                            27 the context and progress of an activist campaign of which the author is a part. This “setting
                            28   denot[es] opinion as opposed to fact.” Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d 1113, 1123

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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 (C.D. Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000).

                             2          Thus, to the extent the Forbes Posts convey a negative view of CoreCivic in light of its
                             3 undisputed participation in immigrant detention under an administration that separates immigrant

                             4 families, that must reasonably be read as the “personal viewpoint of the author,” Partington v.

                             5 Bugliosi, 56 F.3d 1147, 1153 (9th Cir. 1995). Simon’s personal stance against private immigrant

                             6 detention companies like CoreCivic cannot be read as a statement of implied fact, and certainly

                             7 not as an implied claim that CoreCivic itself “operates immigrant detention facilities for children

                             8 separated from their parents under the Government’s family separation policy.” Opp. at 16. As

                             9 set out above, the Posts neither state nor imply any such thing. See Section II.B, supra.

                            10          Moreover, because of the clear subjective “tenor” of Simon’s statements, it is also
                            11 unreasonable to pick them apart and hold them under a lexicographic microscope. The Lobbying
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                            12 Statements cannot be reasonably read as false solely because they employ a broader definition of

                            13 “lobbying,” which includes CoreCivic’s strategic campaign donations and participation in

                            14 legislative counsels—namely, the activities reported in the linked NPR and Business Insider

                            15 Articles. See also Herring Networks, Inc. v. Maddow, 445 F. Supp. 3d 1042, 1050 (S.D. Cal.

                            16 2020) (a technically false accusation, even prefaced with the word “literally,” would still be

                            17 understood by viewers as opinion, given context), appeal filed, No. 20-55579 (9th Cir. June 3,

                            18 2020). Yet CoreCivic builds its entire claim of falsity on a hyper-literal definition of lobbying that

                            19 would exclude the influence campaigns to which Simon refers. The term “lobby” is not so
                            20 narrowly defined. See Steam Press Holdings, Inc. v. Haw. Teamsters, Allied Workers Union,

                            21 Local 996, 302 F.3d 998, 1009 (9th Cir. 2002) (in a labor dispute, accusations that employer was

                            22 “making money” and “hiding money” were non-actionable opinion because “[a] phrase like

                            23 ‘making money’ does not possess a singular, concrete, and therefore readily verifiable, meaning”).

                            24 CoreCivic’s unreasonably limited reading cannot by itself transform Simon’s statement, whose

                            25 broader meaning is disclosed by explicit reference to the NPR and Business Insider Articles,7 into

                            26 an actionable false factual assertion.

                            27
                                 7
                                  CoreCivic cites Flowers v. Carville, 310 F.3d 1118, 1129 (9th Cir. 2002) for the idea that “a
                            28   defamatory statement isn’t rendered nondefamatory merely because it relies on another
                                 defamatory statement.” Opp. at 18. However, though the Complaint discusses the contents of the
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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1          In its Opposition, CoreCivic attempts to brush away the on-point decisions in Cochran,
                             2 Partington, and Herring Networks, claiming that the “hyperbolic,” “firebrand,” and “dramatized”

                             3 publications in those cases “contrast markedly” with the “factual and historical” Forbes Posts.

                             4 Opp. at 16. This hollow characterization does not stand up to scrutiny. Partington concerned a

                             5 nonfiction book about historical events, while Cochran and Herrington concerned “opinion”

                             6 pieces presented in the context of news publications. See Mot. Br. at 13-14. The Forbes Posts not

                             7 only present as opinion columns (starting with the indication that Simon is a Forbes.com

                             8 “contributor,” not a staff reporter, see e.g., Ex. 2 at 1), they also reflect Simon’s personal

                             9 involvement in the large advocacy campaigns being described. Some of the posts disclose that

                            10 Simon and Candide are part of the larger Families Belong Together “committee” leading the

                            11 campaign to pressure banks to cut ties with private prisons, and the March 5 Post touts additional
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                            12 activism against private prisons organized by Candide’s project Real Money Moves. See Ex. 2 at

                            13 2; Ex. 1 at 2; Ex. 5 at 5. The specific language Simon uses, moreover, makes her own stance on

                            14 the issues obvious. See, e.g., Ex. 2 at 1 (describing JPMorgan Chase’s decision to stop lending to

                            15 private prisons as a “big win for the world of corporate accountability”).

                            16          In sum, any reasonable reader would understand that the Forbes Posts are opinion columns
                            17 that reflect Simon’s subjective views on the issues described. The “totality of the circumstances”

                            18 surrounding the statements at issue thus do not support CoreCivic’s hyperliteral reading of the

                            19 Lobbying Statements, nor do they support imposing specific, unstated factual implications on
                            20 Simon’s statements criticizing the private prison industry as a whole.

                            21
                                 D.     CoreCivic Has Not Met the Pleading Standard for Special Damages, and Concedes
                            22          That the Lobbying Statements Are Not Defamation Per Se

                            23          By failing to present a single argument that the Lobbying Statements are defamatory “on

                            24 their face,” see Opp. at 18-20, CoreCivic concedes that they are not. Instead, the Opposition relies

                            25 on the standard for defamation per quod, but strains even under this more liberal standard to paint

                            26 a defamatory meaning into the Lobbying Statements. For instance, the Opposition claims that

                            27
                                 NPR and Business Insider Articles, see Compl. ¶¶ 81-82, it never pleads that the reporting therein
                            28   on CoreCivic’s political influence campaigns is false or defamatory. The Lobbying Statements
                                 cannot be found defamatory by virtue of loosely summarizing reporting in these articles.
                                                                                10
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 Simon’s statements that it has lobbied for “three decades to push for harsher criminal justice and

                             2 immigration laws” are defamatory because, in context, they imply that CoreCivic engaged in this

                             3 lobbying “for the purpose of enriching itself by detaining children separated from their parents

                             4 under the Government’s family separation policy.” Opp. at 19. Putting aside that the Forbes Posts

                             5 do not ever accuse CoreCivic of detaining children separated from their parents, the timeline alone

                             6 lays this far-fetched reading bare. Simon referred to lobbying across three decades, while the

                             7 Government’s family separation policy has been in place for under three years. Compl. ¶¶ 28-30.

                             8          Regardless, the claims based on the Lobbying Statements fail because CoreCivic has not
                             9 sufficiently pled special damages proximately caused by those statements (as it must, since it

                            10 concedes they are not defamatory per se). “When special damage is claimed, the nature of the

                            11 special loss or injury must be particularly set forth” and include allegations which “set forth
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                            12 precisely in what way the special damage resulted.” Anderson v. Hearst Pub. Co., 120 F. Supp.

                            13 850, 852 (S.D. Cal. 1954) (quoting Pollard v. Lyon, 91 U.S. 225 (1875))). See also Downing v.

                            14 Abercrombie & Fitch, 265 F.3d 994, 1010 (9th Cir. 2001) (a plaintiff “must allege and prove that

                            15 they suffered special damages as a proximate result of the publication of the” allegedly libelous

                            16 statements) (emphasis added). Rule 9(g) of the Federal Rules of Civil Procedure also requires that

                            17 special damages be “specifically stated” in a pleading, which requires not only facts showing that

                            18 a business loss occurred following the publication at issue, but also that “that such loss . . . [was]

                            19 the natural and probable result of such publication[.]” GOLO, LLC v. Higher Health Network,
                            20 LLC, No. 3:18-CIV-2434-GPC-MSB, 2019 WL 446251, at *11 (S.D. Cal. Feb. 5, 2019) (quoting

                            21 Isuzu Motors Ltd. v. Consumers Union of U.S., Inc., 12 F. Supp. 2d 1035, 1047 (C.D. Cal. 1998)).

                            22          The Complaint does not meet this standard. CoreCivic alleges that it had to enter into a
                            23 less favorable term loan “due to the market pressure that Defendants deliberately manufactured

                            24 with their false accusations,” Compl. ¶ 116, but has failed to plead facts that could explain how its

                            25 additional loan costs could have been “the natural and probable result” of the specific, allegedly

                            26 false statements made in the Forbes Posts. Rather, CoreCivic pleads that these costs were the

                            27 result of broader letter writing campaigns (spearheaded by the Families Belong Together coalition
                            28   and others) to pressure banks to cut ties with private prison companies. See Compl. ¶¶ 57, 107-

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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 114 (linking decisions by JPMorgan and Bank of America to stop lending to private prisons to

                             2 Families Belong Together, unrelated protests, and publications not at issue in this litigation). But

                             3 CoreCivic has not sued over these larger campaigns to end private prisons (nor could it); it has

                             4 sued over particular allegedly false statements made by Simon alone in the Forbes Posts, and it

                             5 fails to explain “specifically” how those false statements led to any special damages. Because the

                             6 Lobbying Statements are concededly not defamatory per se, CoreCivic’s failure to plead special

                             7 damages is fatal to its claims based upon them.

                             8
                                         III.   THE COMPLAINT FAILS TO RAISE A PLAUSIBLE INFERENCE
                             9                               OF ACTUAL MALICE

                            10          CoreCivic does not dispute in its Opposition that it is a public figure which must plead and

                            11 prove actual malice. Yet the Complaint does not meet even the initial plausibility threshold for
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                            12 any such assertion. Instead it relies upon on a grab bag of allegations courts have repeatedly held

                            13 are insufficient as a matter of law to demonstrate actual malice. The accumulation of CoreCivic’s

                            14 deficient allegations cannot—contrary to its claims in the Opposition—create something from

                            15 nothing. Nor can CoreCivic skip past this critical threshold showing because some pre-Twombly

                            16 cases considered actual malice a jury issue. See Opp. at 21 (citing cases from 1968-1998); cf. Bell

                            17 Atlantic Corp. v. Twombly, 550 U.S. 544 (2007); Ashcroft v. Iqbal, 556 U.S. 662 (2009). Under

                            18 current pleading standards, CoreCivic must plead facts that raise a plausible inference of actual

                            19 malice to survive a Rule 12(b)(6) motion. See Mot. Br. at 19. It has failed to do so.
                            20          First, actual malice cannot be shown where the statements complained of are not false.

                            21 See Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 513 (1991). Accordingly, it makes no

                            22 difference whether CoreCivic has sufficiently alleged that Simon knew it does not “operate[]

                            23 immigrant detention facilities for children separated from their parents at the [U.S.] border,” Opp.

                            24 at 21-22, since Simon never claimed otherwise. Instead, Simon referred to private prisons’

                            25 involvement in family separation, and the Complaint does not plead Simon knew or had reason to

                            26 know this was false. In fact, the Complaint does not even allege it is false—because it is not.

                            27          Second, CoreCivic argues that its allegation regarding Simon’s supposed “financial

                            28   motivation” is a “relevant evidentiary building block toward proving actual malice.” Opp. at 22-

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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 24. But this financial motivation theory is absurd, and completely implausible.8 It requires

                             2 accepting untenable presumptions: First, that an effort to reduce debt funding to private prisons

                             3 could somehow be expected to redirect investment to Defendants; and second, that the specific

                             4 false statements at issue could be expected to contribute to this imagined revenue stream of

                             5 redirected former private prison investors. See Tavoulareas v. Piro, 817 F.2d 762, 795 (D.C. Cir.

                             6 1987) (“To recover, plaintiffs cannot ground their claim ‘on a showing of intent to inflict harm,’

                             7 but must, instead, show an ‘intent to inflict harm through falsehood.’”) (quoting Henry v.

                             8 Collins, 380 U.S. 356, 357 (1965)); Mot. Br. at 21. CoreCivic’s attenuated theory bears no

                             9 relation to the cases it cites, where the defendants had an expectation of direct financial benefit

                            10 resulting from the allegedly false statements themselves. See Suzuki Motor Corp. v. Consumers

                            11 Union of U.S., Inc., 330 F.3d 1110, 1135 (9th Cir. 2003) (though “financial motive cannot, by
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                            12 itself, prove actual malice,” it could bear on an actual malice inquiry where plaintiff had produced

                            13 evidence that defendant “needed a blockbuster story” to raise revenue and concocted the false

                            14 story at issue for that purpose); Kaelin v. Globe Commc’ns Corp., 162 F.3d 1036, 1042 (9th Cir.

                            15 1998) (“pecuniary motive” was relevant to actual malice where editor admitted that “not ‘very

                            16 accurate’” front page was intended to “sell the paper”). Cf. Solano v. Playgirl, Inc., 292 F.3d

                            17 1078, 1086 (9th Cir. 2002) (evidence of financial motive did not factor into actual malice finding,

                            18 which was based on evidence of subjective awareness of falsity). In short, CoreCivic’s ridiculous

                            19 theory that Simon engaged in activism against the private prison industry (along with millions of
                            20 others, see Ex. 5 at 4) for personal financial benefit does not meet the federal pleading threshold,

                            21 much less provide a “building block” for a claim of actual malice.

                            22          Third, CoreCivic focuses on Simon’s knowledge of its denials regarding the Lobbying
                            23 Statements, as well as her failure to reach out for comment. See Opp. at 22-23, 25. Yet numerous

                            24 cases have found these facts cannot be evidence of actual malice. See Mot. Br. at 22; Eastwood v.

                            25 Nat’l Enquirer, Inc., 123 F.3d 1249, 1254 n.10 (9th Cir. 1997) (there is “no requirement” that a

                            26 publication call the subject of an article for comment, particularly since, “[g]iven the bad blood

                            27
                            28   8
                                  CoreCivic’s additional theory of preconceived storyline (Opp. at 25) is, moreover, conclusory,
                                 and is not supported by any facts alleged in the Complaint.
                                                                                  13
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 between” the parties, the defendant “could not have expected to obtain reliable information from

                             2 [plaintiff]”). As CoreCivic admits, a cumulative claim of actual malice still requires “[e]vidence

                             3 of negligence, of motive and of intent.” Opp. at 21. A failure to reach out for comment does not

                             4 even evidence negligence, much less motive or intent. See Eastwood, 123 F.3d at 1254 & n.10

                             5 (while there was sufficient evidence of actual malice, this did not include defendant’s failure to

                             6 reach out for comment); D.A.R.E Am. v. Rolling Stone Magazine, 101 F. Supp. 2d 1270, 1284 n. 3

                             7 (C.D. Cal. 2000), aff’d, 270 F.3d 793 (9th Cir. 2001) (collecting cases); Mot. Br. at 22.

                             8          Moreover, the law is clear that a “reporter need not believe self-serving denials, ‘as such
                             9 denials are so commonplace in the world of polemical charge and countercharge.’” Harris v. City

                            10 of Seattle, 152 F. App’x 565, 569 (9th Cir. 2005) (citation omitted). For a denial to factor into

                            11 actual malice at all, there must be “something in the content of the denial or supporting evidence
DAVIS WRIGHT TREMAINE LLP




                            12 produced in conjunction with the denial that carries a doubt-inducing quality.” Id. (citation

                            13 omitted). But here, the denials CoreCivic points to relating to lobbying are the same rote

                            14 recitation, and set out no doubt-inducing facts or evidence. See Compl. ¶¶ 82, 83, 86, 88, 89. In

                            15 fact, some are contained in larger reports that inspire doubt in the denials themselves. See Opp. at

                            16 22, Exs. 6, 7; Mot. Br. at 23.9 The fact that CoreCivic’s same denial appears in other public

                            17 sources (which Simon may or may not have known about), does not make it more deserving of

                            18 credit. See Opp. at 24. Finally, CoreCivic cannot save these allegations by renaming them,

                            19 conclusorily, “purposeful avoidance of the truth.” Opp. at 24-25. Purposeful avoidance can occur
                            20 where a defendant avoids gathering evidence that it knows could “either credit or discredit” an

                            21 unreliable source’s statements. Connaughton v. Harte Hanks Commc'ns, Inc., 842 F.2d 825, 843

                            22 (6th Cir. 1988), aff’d, 491 U.S. 657 (1989). There can be no “purposeful avoidance” here, since

                            23 the only “additional evidence” CoreCivic points to is more of its own identical denials, which

                            24

                            25   CoreCivic’s Opposition (and its response to Defendants’ Request for Judicial Notice) contends
                                 9

                               that the content of the NPR and Business Insider Articles should not be considered on this motion,
                            26 because it is a question of fact whether Simon relied upon them. Opp. at 22-23. However, Simon
                               is not the one who made this claim. Rather, CoreCivic alleged that Simon reviewed the two
                            27 articles before publishing the Forbes Posts, and holds her accountable for being aware of their
                               contents. See Compl. ¶¶ 80-82, Opp. at 22. CoreCivic cannot have it both ways, premising a
                            28 claim of actual malice on Simon’s knowledge of these two articles, but insisting that it is a factual
                               issue whether she was aware of their contents. CoreCivic is bound to its own allegations.
                                                                               14
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 Simon was not required to credit. Nor would evidence exclusively from federal lobbying

                             2 databases—even if Simon had reviewed those databases—prove that CoreCivic does not lobby for

                             3 criminal laws, which are largely enacted on the state level. See Opp. at 24. See also Exs. 6, 7

                             4 (reporting on CoreCivic’s state-level lobbying efforts); Ex. 8 at 26 (describing the difficulty of

                             5 tracking state-level lobbying given inconsistent disclosure laws).

                             6          Finally, CoreCivic claims that Simon’s “steadfast refusal to retract” is relevant to actual
                             7 malice. In support, CoreCivic cites a District of Columbia Circuit opinion on a petition for

                             8 rehearing, which was superseded by the subsequent en banc decision finding no actual malice.

                             9 See Tavoulareas v. Piro, 817 F.2d 762 (D.C. Cir. 1987). By contrast, numerous more recent

                            10 federal court decisions have held that a failure to retract is not evidence of actual malice. See, e.g.,

                            11 McFarlane v. Sheridan Square Press, Inc., 91 F.3d 1501, 1515 (D.C. Cir. 1996) (“McFarlane
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                            12 presents no authority, however, nor are we aware of any, for the proposition that a publisher may

                            13 be liable for defamation because it fails to retract a statement upon which grave doubt is cast after

                            14 publication”); Biro v. Conde Nast, 963 F. Supp. 2d 255, 281 (S.D.N.Y. 2013) (dismissing for

                            15 failure to plead actual malice notwithstanding failure to retract, and noting that “a failure to retract

                            16 occurs, by definition, after publication, meaning that its probative value as to a defendant’s state

                            17 of mind at the time of publication is dubious at best.”), aff’d, 807 F.3d 541 (2d Cir. 2015),

                            18 and aff’d, 622 F. App’x 67 (2d Cir. 2015) (summary order). See also Mot. Br. at 22. However,

                            19 the point is theoretical, since Simon did not refuse to retract. In fact, as the Complaint admits,
                            20 Simon made changes and clarifications to both the March 5 and September 25 Posts in response to

                            21 CoreCivic’s demand, modifying the Lobbying Statements so that they no longer include any

                            22 allegedly false facts, and adding a clarification that the March 5 Post “does not intend to suggest

                            23 that CoreCivic or GEO Group housed children separated from their parents pursuant to the Trump

                            24 family separation policy.” See Ex. 4 at 5, Ex. 5 at 3-4; Compl. ¶¶ 95, 63. CoreCivic cannot raise

                            25 an inference of actual malice, even in part, on Simon’s supposed “refusal” to retract.

                            26                                             CONCLUSION
                            27          For the foregoing reasons, the Court should strike CoreCivic’s Complaint and award
                            28   Defendants their attorneys’ fees in a motion to be separately briefed.

                                                                                  15
                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
                             1 Dated: September 24, 2020               Respectfully submitted,
                             2                                         DAVIS WRIGHT TREMAINE LLP
                                                                       THOMAS R. BURKE
                             3                                         ABIGAIL B. EVERDELL
                             4
                                                                       By: /s/ Thomas R. Burke
                             5                                             THOMAS R. BURKE
                             6                                         Attorneys for Defendants
                                                                       Candide Group, LLC and Morgan Simon
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                                 DEFENDANTS’ REPLY IN SUPPORT OF SPECIAL MOTION TO STRIKE
                                 Case No. 4:20-cv-03792-WHA
